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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

UPPER MISSOURI
WATERKEEPER,
                                               CV-16-52-GF-BMM
                  Plaintiff,
vs.
                                                    ORDER
UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY and SCOTT PRUITT,
Administrator, United States
Environmental Protection Agency,

                  Defendants,

and

STATE OF MONTANA
DEPARTMENT OF
ENVIRONMENTAL QUALITY,
TREASURE STATE RESOURCES
ASSOCIATION OF MONTANA,
MONTANA LEAGUE OF CITIES
AND TOWNS, and NATIONAL
ASSOCIATION OF CLEAN WATER
AGENCIES

         Defendants and Intervenors.




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      Plaintiff Upper Missouri Waterkeeper (“Waterkeeper”) moves for summary

judgment in its First Amended Complaint. (Doc. 148.) Waterkeeper asserts two

causes of action. Waterkeeper first alleges that EPA’s approval of Montana’s

numeric nutrient criteria for nitrogen and phosphorous, contained in the variance,

violates 33 U.S.C. § 1313. (Doc. 130 at 17-18.) Waterkeeper next contends that

EPA’s approval of the variance proves both contrary to the evidence and arbitrary

and capricious. Id. at 18-19. Waterkeeper requests that the Court vacate EPA’s

approval of the variance and award costs and attorney’s fees. Id. at 20.

      Defendants United States Environmental Protection Agency (“EPA”) and

Scott Pruitt, EPA Administrator, and Defendant-Intervenors State of Montana

Department of Environmental Quality (“DEQ”), Treasure State Resources

Association of Montana, Montana League of Cities and Towns, and National

Association of Clean Water Agencies (collectively “Defendants”), also have

moved for summary judgment to uphold the approval. (Docs. 151, 155, 159, 161,

165.) The Court held a hearing on the cross-motions for summary judgment on

December 12, 2018, in Great Falls, Montana.

                                 BACKGROUND

      DEQ adopted, and EPA approved, base numeric nutrient water quality

standards (“WQS”) for nutrient pollutants in 2015. DEQ set forth Montana’s

original WQS in what DEQ defined as “Circular 12-A” (hereafter “Montana’s Base

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WQS”). Montana’s Base WQS apply to the discharge of nitrogen and phosphorus

in applicable Montana waters. DEQ developed standards for each of Montana’s

“wadeable streams” and grouped these standards by ecoregions. AR-1221.

Montana’s Base WQS serve to protect all designated uses, including health,

fishing, and recreation in most Montana waters.

      Montana’s Base WQS sets pollutant concentration limits, geographical

parameters, and seasonal timeframes to which the standards apply. AR-1222-23.

The criteria primarily apply from July until the end of September of each year. Id.

Numeric standards in Montana’s Base WQS for phosphorus that apply to

Montana’s wadeable streams range from 25 micrograms per liter (“µg/l”) to 150

µg/l. Id. Total nitrogen levels range from 250 µg/l to 1,300 µg/l. Id. Montana

became a national leader in the development of numeric nutrient criteria in

adopting the stringent requirements of Montana’s Base WQS.

      DEQ simultaneously adopted a “variance” from Montana’s Base WQS

known as “Circular 12-B” (hereafter the “Original Variance Standard”). DEQ

developed the Original Variance Standard in recognition of the challenges in

meeting the stringent requirements of Montana’s Base WQS. DEQ relaxed the

criteria for dischargers. The Original Variance Standard provided a relaxed limit of

1,000 µg/l of total phosphorus and 10,000 µg/l of total nitrogen for larger plants

discharging more than one million gallons of effluent per day (“gpd”). AR-12232.

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The Original Variance Standard additionally placed a limit of 2,000 µg/l of total

phosphorus and 15,000 µg/l of total nitrogen for smaller plants discharging less

than one million gpd. Id.

      DEQ developed the Original Variance Standard based on DEQ’s

determination that many dischargers could not feasibly meet the high costs

associated with implementation of Montana’s Base WQS. DEQ allowed the

Original Variance Standard to last up to twenty years from the date of adoption

pursuant to Montana law. DEQ claims that the Original Variance Standard allowed

time for improvements from current conditions to work toward the stringent

numeric nutrient criteria contained in Montana’s Base WQS. EPA approved

Montana’s Base WQS and the Original Variance Standard in 2015.

      Waterkeeper challenged the Original Variance Standard in this Court in May

2016. Montana law requires DEQ and EPA to review the variance every three

years. Mont. Code Ann. § 75-5-313(8). DEQ began the process of amending the

Original Variance Standard during the pendency of the May 2016 lawsuit. EPA

approved what is known as “Amended Circular 12-B” (hereafter the “Current

Variance Standard”) in October of 2017, pursuant to its first triennial review.

      EPA similarly approved the seventeen-year period remaining on the

variance’s twenty-year timeline. The first triennial review did not alter the criteria

in Montana’s Base WQS. AR-20649. The Current Variance Standard improves

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upon the Original Variance Standard by providing a tighter limit of 300 µg/l of

total phosphorus and 6,000 µg/l of total nitrogen for larger plants discharging more

than one million gpd. AR-12232. The Current Variance Standard additionally

placed a limit of 1,000 µg/l of total phosphorus and 10,000 µg/l of total nitrogen

for smaller plants discharging less than one million gpd. Id. The Current Variance

Standard places stronger limits on dischargers than the limits of the Original

Variance Standard. The Current Variance Standard continues to fall short,

however, of the criteria contained in Montana’s Base WQS.

      The Court held a hearing to discuss the impact of the Current Variance

Standard on Waterkeeper’s original Complaint on June 28, 2017. (Doc. 99.) The

parties determined that the Current Variance Standard rendered the Original

Variance Standard inapplicable to the proceeding. The Court granted Waterkeeper

leave to amend its Complaint to address the Current Variance Standard and the

updated posture that it presented to the litigation. (Doc. 129.)

      The Current Variance Standard applies to thirty-six municipal dischargers.

DEQ premised the Current Variance Standard upon “widespread economic and

social impact” to Montana communities associated with the need to comply with

the WQS. DEQ and EPA determined that the cost of implementing the technology

required to meet Montana’s Base WQS would cause these widespread economic

and social impacts.

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      Waterkeeper’s Amended Complaint raises the same essential challenges to

EPA’s approval of the Current Variance Standard. Waterkeeper alleges (1) that the

language of the CWA does not allow for the consideration of economic and social

impacts (i.e. “costs”) in setting WQS; and (2) that the Current Variance Standard

effectively replaces Montana’s Base WQS. Waterkeeper argues that the seventeen-

year timeline requires Defendants to meet only the more relaxed Current Variance

Standard, rather than to meet the more stringent criteria in Montana’s Base WQS.

Defendants assert that DEQ based the Current Variance Standard upon a

permissible interpretation of the CWA and that the Current Variance Standard does

not replace Montana’s Base WQS.

            STATUTORY AND REGULATORY BACKGROUND

I.    WATER QUALITY STANDARDS

      The CWA seeks “to restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The CWA

establishes a partnership between states, territories, authorized Tribes, and the

federal government to achieve that goal. Arkansas v. Oklahoma, 503 U.S. 91, 101

(1992). One “national goal” to meet the CWA’s objectives is that “wherever

attainable, an interim goal of water quality which provides for the protection and

propagation of fish, shellfish, and wildlife and provides for recreation in and on the

water” be achieved. 33 U.S.C. § 1251(a)(2).
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      The CWA requires that WQS be established “to protect the public health or

welfare, enhance the quality of water, and serve the purposes of [the CWA].” 33

U.S.C. § 1313(c)(2)(A). WQS generally consist of three elements: (1) a designated

use for the water body at issue; (2) water quality criteria that express the

concentrations or levels of pollutants that may be present in the water while still

supporting the designated use; and (3) an anti-degradation policy. 33 U.S.C.

1313(c)(2); CWA § 303(d)(4)(B); 33 U.S.C. § 1313(d)(4)(B); 40 C.F.R. § 131.3(i).

      The CWA directs individual states to take responsibility for prevention,

reduction, and elimination of pollution within their waterways. 33 U.S.C. §

1251(b). This duty carries the obligation to promulgate WQS consistent with the

purposes and requirements of the CWA. The CWA mandates that states

periodically adopt and revise WQS. 33 U.S.C. § 1313(c)(1). In adopting or revising

WQS, states must consider the particular water body’s “use and value for public

water supplies, propagation of fish and wildlife, recreational purposes, and

agricultural, industrial, and other purposes.” 33 U.S.C. § 1313(c)(2)(A).

      The CWA also directs EPA to review, and approve or disapprove, a state’s

proposed standards. Id. A state’s proposed standards take effect upon EPA’s

approval. EPA must intervene if it disapproves proposed standards and a state fails

to develop standards that meet the requirements of the CWA. 33 U.S.C. §

1313(c)(4).

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      A. DESIGNATED USES

      States identify designated uses of each waterbody. States establish

designated uses based on those specified in 33 U.S.C. § 1251(a)(2). Section

1251(a)(2) identifies these designated uses as “fish, shellfish, and wildlife, and . . .

recreation in and on the water.” Id. States establish designated uses “taking into

consideration their use and value for public water supplies, propagation of fish and

wildlife, recreational purposes, and agricultural, industrial, and other purposes, and

also taking into consideration their use and value for navigation.” 33 U.S.C. §

1313(c)(2)(A). States may demonstrate unattainability through a “use attainability

analysis” for the uses designated in 33 U.S.C. § 1251(a)(2).

      B. VARIANCES

      The regulations define a variance as a “time-limited designated use and

criterion for a specific pollutant(s) or water quality parameter(s) that reflect the

‘highest attainable condition’ during the term of the WQS variance.” 40 C.F.R. §

131.3(o). A state seeking a variance must demonstrate the need and justification for

the term of the variance. 40 C.F.R. § 131.14(b)(2). EPA’s regulations provide

several bases for demonstrating a need for a variance, including “widespread

economic and social impacts.” 40 C.F.R. §§ 131.14(b)(2); 131.10(g). Montana

allows a variance to last for a period of up to twenty years from the date of

adoption. Mont. Code Ann. § 75-5-313(8). Montana also requires that a variance

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be reviewed every three years from the date of adoption to ensure that it remains

justified. Mont. Code Ann.§ 75-5-313(7), (8).

                              LEGAL STANDARDS

      The Administrative Procedure Act (“APA”) governs the Court’s review of

EPA’s approval of the Current Variance Standard. The APA provides that a court

shall set aside a final agency action that it deems “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). An

agency acts contrary to the law when it fails to abide by and implement the

direction and intent of Congress or when it acts contrary to its own rules and

requirements. Chevron USA, Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837,

842-43 (1984); Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 154

(2012).

      An agency rule proves arbitrary and capricious in the following

circumstances: (1) where the agency “has relied on factors which Congress has not

intended it to consider;” (2) where the agency “entirely failed to consider an

important aspect of the problem;” (3) where the agency “offered an explanation for

its decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 43 (1983); see also Ranchers Cattlemen Action Legal Fund United

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Stockgrowers of Am. v. U.S. Dep’t of Agriculture, 415 F.3d 1078, 1093 (9th Cir.

2005).

      Courts have interpreted the APA standard to be “highly deferential,

presuming the agency action to be valid and affirming the agency action if a

reasonable basis exists for its decision.” Bahr v. U.S. EPA, 836 F.3d 1218, 1229

(9th Cir. 2016) (quoting Ranchers Cattlemen Action Legal Fund United

Stockgrowers of Am. v. U.S. Dep’t of Agriculture, 499 F.3d 1108, 1115 (9th Cir.

2007)). An agency action will be upheld as long as a rational connection exists

“between the facts found and the conclusions made.” Barnes v. U.S. Dep’t of

Transp., 655 F.3d 1124, 1132 (9th Cir. 2011). Courts owe their “highest

deference” to the agency’s “technical analyses and judgments within its area of

expertise.” Nat. Res. Def. Council, Inc. v. Pritzker, 828 F.3d 1125, 1139 (9th Cir.

2016) (quoting League of Wilderness Defs. Blue Mtns. Biodiversity Proj. v. Allen,

615 F.3d 1122, 1131 (9th Cir. 2010)).

      Courts “defer to an agency’s interpretations of its own regulation, advanced

in a legal brief, unless that interpretation is ‘plainly erroneous or inconsistent with

the regulation.’” Chase Bank USA, N.A. v. McCoy, 562 U.S. 195, 208 (2011)

(quoting Auer v. Robbins, 519 U.S.452, 461 (1997)). An agency’s interpretation

“need not be the only possible reading of a regulation – or even the best one – to

prevail.” Decker v. NW. Envtl. Def. Ctr., 568 U.S. 597, 613 (2013).

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      Summary judgment would be appropriate if there exists no genuine issue of

material fact and the moving party would be entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(1986). The moving party bears the initial burden of demonstrating the absence of

a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

(1986). This case involves review of final agency action and an administrative

record. It presents no genuine issues of material facts, and, therefore, it would be

appropriate to resolve the case on summary judgment. Forest Serv. Emp’s for

Envtl. Ethics v. U.S. Forest Serv., 726 F. Supp. 2d 1195, 1207 (D. Mont. 2010); see

also Occidental Eng’g Co. v. I.N.S., 753 F.2d 766, 770 (9th Cir. 1985).

                                   DISCUSSION

I.    WHETHER THE CURRENT VARIANCE STANDARD CONFORMS WITH THE
      REQUIREMENTS OF THE CWA
      Waterkeeper first argues that the use of a variance indirectly downgrades the

numeric criteria in Montana’s Base WQS by injecting the consideration of costs.

(Doc. 150 at 20-21.) Waterkeeper asserts that CWA’s plain language clearly

requires the consideration only of “science-based criteria” to protect designated

uses of Montana’s waters. Id. at 21.

      Congress mandated that new and revised WQS “shall consist of the

designated uses of the navigable waters involved and the water quality criteria for

such waters based upon such uses.” 33 U.S.C. § 1313(c)(2)(A). States must set
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these standards “to protect the public health or welfare, enhance the quality of

water and serve the purposes of the CWA.” Id. States must consider the water’s use

and its value “for public water supplies, propagation of fish and wildlife,

recreational purposes, and agricultural, industrial, and other purposes and also

taking into consideration their use and value for navigation.” Id.

      Waterkeeper asserts that the language of 33 U.S.C. § 1313(c)(2)(A) allows

only for “science-based” criteria in setting WQS. (Doc. 150 at 21.) Waterkeeper

argues, therefore, that the consideration of cost conflicts with the intent of

Congress. Id. at 22. A case of clear Congressional intent limits the district court’s

duty to enforcing that intent. Tenn. Valley Auth. v. Hill, 437 U.S. 153, 194 (1978).

No need exists to defer or look to agency guidance or rule in such cases. Chevron,

467 U.S. at 843-44.

      The two-step approach set forth in Chevron governs EPA’s interpretation of

33 U.S.C. § 1313(c)(2)(A). The first step requires a court to ask whether Congress

has “directly spoken to the precise question at issue.” Chevron, 467 U.S. at 842-45.

A court must give effect to the intent of Congress where Congress unambiguously

has expressed intent. Id. On the other hand, where the statute remains “silent or

ambiguous with respect to the specific issue,” a court must determine “whether the

agency’s answer is based on a permissible construction of the statute.” Id. at 843.



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      Waterkeeper does not challenge on its face the EPA rule that allows

variances. (Doc. 150 at 31.) Waterkeeper instead argues that EPA’s interpretation

and application of the variance rule violates the plain direction of 33 U.S.C. §

1313(c)(2)(A). Waterkeeper’s argument requires the Court to consider first

whether the variance rule violates the statute’s plain language. The Court must

decide this issue before it can determine whether the implementation and

application of EPA’s rule violates the CWA.

      A. WHETHER CONGRESSIONAL INTENT WAS CLEAR ON THE FACE OF THE
         CWA
      Waterkeeper asserts that the “core issue” in this case involves whether the

plain language of 33 U.S.C. § 1313(c)(2)(A), requires WQS to be “science-based.”

(Doc. 167 at 5.) Waterkeeper argues that WQS “must be designed to protect

designated uses of the nation’s waters, including public water supplies, fish and

wildlife, and recreation.” (Doc. 167 at 9, quoting 33 U.S.C. § 1313(c)(2)(A).)

Waterkeeper ignores the remainder of the sentence. This section further provides

that WQS also must be designed to protect designated uses that include “ . . .

agricultural, industrial, and other purposes and also taking into consideration their

use and value for navigation.” 33 U.S.C. § 1313(c)(2)(A) (emphasis added).

      Waterkeeper’s Chevron Step-1 argument regarding the statute’s plain

language fails to address the statute’s full language. In fact, Waterkeeper fails to


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address the entirety of the specific sentence on which they rely. Congress did not

set forth a mandatory list of factors. Congress instead merely provided EPA with

list of factors to consider in setting designated uses. The statute’s language

indicates that Congress did not give more weight to one factor or another.

       Idaho Mining Ass’n, Inc. v. Browner, 90 F. Supp. 2d 1078 (D. Idaho 2000),

addressed a similar Chevron argument. Idaho Mining involved a challenge to the

promulgation of WQS for three water body segments in northern Idaho. Id. at

1080. EPA published WQS that established aquatic life uses after having required

the State of Idaho to submit standards that provided protection for

fishable/swimmable uses. Id. at 1084. EPA relied on a rebuttable presumption that

fishable/swimmable uses would be attainable unless shown otherwise by a use

attainability analysis. Id.

       EPA also established a separate procedure by which an individual discharger

could obtain a variance from WQS by demonstrating the unattainability of that

water for aquatic life use due to “substantial and widespread economic and social

impact.” Id. at 1085. The variance applied only to the individual variance holder.

The underlying aquatic life use remained otherwise in effect. Id. The district court

in Idaho Mining faced the task of determining whether the plain language of 33

U.S.C. § 1313(c)(2)(A) was ambiguous.



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      Section 1313(c)(2)(A) did not identify the precise question of what must be

considered. Congress did not assign specific weight to the various factors. Idaho

Mining, 90 F. Supp. 2d at 1097. The district court concluded that the CWA

“merely provides a list of competing factors/uses to be considered.” Id.

      Nothing in the language of 33 U.S.C. § 1313(c)(2)(A) demonstrates clearly

Congress’s intent that WQS be “science-based.” The “science-based” requirement

stems instead from an EPA regulation that directs states to adopt water quality

criteria. The regulation provides that “[s]tates must adopt those water quality

criteria that protect the designated use.” 40 C.F.R. § 131.11. States must base such

criteria “on sound scientific rationale and must contain sufficient parameters or

constituents to protect the designated use.” Id. This regulation represents EPA’s

interpretation of 33 U.S.C. §§ 1313(c)(2)(A) and 1251. Waterkeeper’s singular

focus on the “science-based” requirement highlights the statute’s ambiguity.

      The language of 33 U.S.C. § 1313(c)(2)(A) expressly leaves room for

interpretation. Waterkeeper argues that the use of the word “shall” curtails EPA’s

discretion to interpret the statute. (Doc. 167 at 9-10.) The statute provides,

however, that standards “shall be established taking into consideration their use

and value for public water supplies, propagation of fish and wildlife, recreation

purposes and agricultural, industrial, and other purposes . . . ” 33 U.S.C. §

1313(c)(2)(A) (emphasis added). The statute also requires standards to “serve the
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purposes of [the CWA].” Id. The CWA seeks to provide for the protection and

propagation of fish, shellfish, wildlife, and recreation “wherever attainable[.]” 33

U.S.C. § 1251(a).

      Courts premise “[d]eference under Chevron to an agency’s construction of a

statute that it administers . . . on the theory that a statute’s ambiguity constitutes an

implicit delegation from Congress to the agency to fill in the statutory gaps.” Food

& Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000).

Congress’s use of the phrase “other purposes” as a mandated consideration

constitutes an implicit delegation to EPA to fill in a gap. Congress’s use of the

phrase “wherever attainable” also leaves room for EPA to determine whether

attainability proves feasible in setting protections for fish, shellfish, wildlife, and

recreation. EPA did not act contrary to Congressional directives when it interpreted

33 U.S.C. § 1313(c)(2)(A) through its regulation.

      B. WHETHER THE VARIANCE RULE REPRESENTS A PERMISSIBLE
         INTERPRETATION OF THE STATUTE
      The Court has determined that the language of 33 U.S.C. § 1313(c)(2)(A)

contains ambiguity. The Court next must determine whether 40 C.F.R. § 131.14

constitutes a permissible interpretation of the statute. Waterkeeper argues that it

challenges EPA’s application of the regulation to the CWA rather than challenging

the specific language of 40 C.F.R. § 131.14. This distinction requires the Court to


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determine whether EPA’s interpretation “serves the purposes of [the CWA].” 33

U.S.C. § 1313(c)(2)(A).

      Waterkeeper argues that “it does not matter what the rule provides on its

face if EPA’s action interpreting and applying the rule violates the specific

direction of the statute.” (Doc. 150 at 31.) This Chevron Step-2 analysis requires

the Court first to determine whether the variance rule represents a permissible

interpretation of the CWA. If the variance rule proves permissible, the Court must

analyze whether EPA properly applied its variance rule.

      The United States Supreme Court recognized in Chevron that “[when]

Congress has not directly addressed the precise question at issue . . . the question

for the court is whether the agency’s answer is based on a permissible construction

of the statute.” Chevron, 467 U.S. at 843. Courts generally defer to the

administering agency’s interpretation. Udall v. Tallman, 380 U.S. 1, 16 (1965).

      EPA suggests that its regulation aims to interpret the directive in 33 U.S.C. §

1313(c)(2)(A) that WQS take “into consideration their use and value” for

beneficial uses. (Doc. 172 at 15.) EPA further contends that its regulation

recognizes that WQS shall “serve the purposes of the CWA” in any circumstance

“wherever attainable.” Id. EPA argues that its regulations allow states to

demonstrate the infeasibility of attaining a designated use. 40 C.F.R. § 131.10(g).


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For example, a state may demonstrate that a designated use would not be attainable

due to “substantial widespread economic and social impacts.” 40 C.F.R. §

131.14(b)(2)(i).

      EPA reasonably exercised discretion in its interpretation of 33 U.S.C. §

1313(c)(2)(A). EPA’s interpretation comports with Congress’s intent that WQS

“protect the public health or welfare, enhance the quality of water and serve the

purposes of [the CWA].” 33 U.S.C. § 1313(c)(2)(A). The CWA seeks “to restore

and maintain the chemical, physical and biological integrity of the Nation’s

waters.” 33 U.S.C. § 1251(a). The CWA seeks to protect fish, shellfish, wildlife,

and recreation “wherever attainable.” 33 U.S.C. § 1251.

       Congress’s use of the phrase “wherever attainable” demonstrates

Congress’s recognition that achievement of fishable/swimmable uses could not

always be guaranteed immediately. The variance rule addresses this contingency

by providing a mechanism to allow states to make swift progress toward attaining a

designated use that would not be attainable immediately. See 80 Fed. Reg. 51,020,

51,039 (Aug. 21, 2015). The EPA variance rule comports with Congress’s intent.

      C. WHETHER EPA’S INTERPRETATION OF ITS OWN REGULATION PROVES
         REASONABLE
      Waterkeeper argues that EPA’s interpretation of 40 C.F.R. § 131.14 violates

the specific direction of 33 U.S.C. § 1313(c)(2)(A). (Doc. 150 at 31.) Waterkeeper

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contends that EPA impermissibly based its approval of the Current Variance

Standard on “cost” rather than the requirements for protection of designated uses.

Id. at 32. An agency’s interpretation of its own regulation deserves substantial

deference unless “plainly erroneous or inconsistent with the regulation.” Auer, 519

U.S. at 461 (citing Robertson v. Methow Valley Citizens Council, 490 U.S. 332,

359 (1989)).

      The variance rule allows states to “adopt WQS variances, as defined in §

131.3(o)[,]” that would allow a “time limited designated use and criterion for

specific pollutant(s) or water quality parameter(s)[.]” 40 C.F.R. §§ 131.14,

131.3(o). A state must show that attaining the designated use would not be feasible

due to one of the factors set forth in EPA’s regulations when it seeks a variance. 40

C.F.R. § 131.14(b)(2)(i)(A)(1). In this regard, a state can consider whether a

designated use and criteria would result in “substantial and widespread economic

and social impact.” 40 C.F.R. § 131.10(g)(6).

      EPA’s approval of the Current Variance Standard proves reasonable and

deserves deference. EPA interpreted “substantial and widespread economic and

social impact” to include “cost.” Waterkeeper has failed to demonstrate that EPA’s

interpretation of its regulation to encompass costs proves “plainly erroneous.” See

Auer, 519 U.S. at 461. Waterkeeper also has failed to show that EPA’s

interpretation conflicts with EPA’s own regulation. Id. EPA’s interpretation of its
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regulation to include consideration of cost fits squarely within “economic” and

“social” impacts. EPA’s interpretation of 40 C.F.R. § 13.14 to allow an evaluation

of “costs” deserves deference.

II.   WHETHER EPA PROPERLY APPROVED THE VARIANCE

      The Court has determined that EPA’s variance rule comports with the

CWA’s requirements. The Court next must evaluate whether DEQ and EPA set

forth a proper variance.

      A. VARIANCE

      The Current Variance Standard addresses a use set forth in Section 101(a)(2)

of the CWA. This reliance on Section 101(a)(2) requires DEQ to demonstrate that

it had met one of the factors required for a variance. DEQ determined that the

Current Variance Standard proves necessary based on “substantial and widespread

economic and social impact.” 40 C.F.R. §§ 131.14(b)(2)(i)(A), 131.10(g)(6).

      DEQ evaluated wastewater treatment technologies that remove nitrogen and

phosphorus to determine which technology could meet the numeric nutrient

criteria. AR-20387. DEQ determined that reverse osmosis represented the strongest

technology available to meet the numeric nutrient criteria. AR-1559. DEQ

evaluated the cost of implementing reverse osmosis. AR-3132.



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      DEQ determined that little economic impact would occur if the financial

impact of implementing reverse osmosis on a median household in a community

would be less than one percent of household income. DEQ determined that large

economic impact would occur, however, if a median household in a community

would be affected by two percent or more of household income. AR-20482. DEQ

also put forth a second test that considered measures of poverty rate, low and

moderate income rate, unemployment rate, median household income, and tax and

fee burden. AR-1557, 1583-87. Waterkeeper does not contest the validity of

DEQ’s findings regarding financial impacts.

      B. WIDESPREAD ECONOMIC AND SOCIAL IMPACTS

      DEQ next analyzed whether the expected impacts would be “widespread.”

DEQ’s study determined that ninety-five percent of communities would be

affected. DEQ determined that communities across the State of Montana would

suffer widespread economic and social impacts if they immediately had to meet

Montana’s Base WQS. AR-20480. DEQ made the same determination in its

previous triennial review in 2015. AR-1553.

      EPA reviewed DEQ’s variance submission. EPA agreed that reverse osmosis

represents the only wastewater technology that could meet the numeric nutrient

criteria. AR-20393. EPA determined that all communities within the State of


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Montana met the “widespread economic and social impacts” standard that justified

a variance. AR-20393. EPA approved the Current Variance Standard for thirty-six

municipal dischargers. Waterkeeper does not challenge EPA’s conclusion that

Montana’s Base WQS would cause widespread economic and social impacts to

communities across the State of Montana.

      C. “HIGHEST ATTAINABLE CONDITION”

      DEQ next evaluated the “highest attainable condition” during the term of the

Current Variance Standard. The “highest attainable condition” serves as the criteria

of the variance during the variance’s term. 40 C.F.R. § 131.3(o). The Current

Variance Standard established the “highest attainable condition” for dischargers

using mechanical plants and lagoons. See 40 C.F.R. § 131.14(b)(1)(ii)(A).

      The Current Variance Standard places a limit of 300 µg/l of total phosphorus

and 6,000 µg/l of total nitrogen for larger plants discharging more than one million

gpd. AR-20650. The Current Variance Standard further places a limit of 1,000 µg/l

of total phosphorus and 10,000 µg/l of total nitrogen for smaller plants discharging

less than one million gpd. Id. This “highest attainable condition” represents the

relaxed criteria of the Current Variance Standard for the next seventeen years. AR-

20651. EPA approved DEQ’s determination of the “highest attainable condition.”

AR-20408, 20412-13. Waterkeeper does not challenge EPA’s approval of the

“highest attainable condition.”
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      D. TERM OF THE VARIANCE

      EPA approved the maximum twenty-year variance period proposed by DEQ

when it established the Original Variance Standard. AR-1231. DEQ subsequently

conducted its first triennial review and established the relaxed criteria of the

Current Variance Standard. DEQ determined that mechanical plants required as

long as necessary to meet the Current Variance Standard. Seventeen years

remained on the twenty-year timeline that began with the adoption of the Original

Variance Standard. AR-20649.

      DEQ set a limit of no longer than seventeen years from EPA’s approval in

2017 to meet the Current Variance Standard. AR-20651. DEQ also will review the

variance conditions every three years to assure that the justification for the

variance’s adoption remains valid. AR-20650-51. EPA approved DEQ’s

seventeen-year term for mechanical plants, and a related ten-year term for lagoons

to meet the relaxed criteria of the Current Variance Standard. AR-20416, 20654-

55.

      DEQ next established a nine-step process for the thirty-six dischargers to

achieve the relaxed criteria of the Current Variance Standard. AR-20651. DEQ

identified each step as a threshold on the path to meet the relaxed criteria of the

Current Variance Standard. DEQ estimated the approximate number of years that

each step would take. AR-20652. The number of years associated with each of the
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nine steps, not coincidentally, adds up to the seventeen years remaining on the

Current Variance Standard as it appears that DEQ sought to take advantage of the

full twenty years of the original variance period. Id.

        Waterkeeper argues that Defendants have compounded the variance problem

by allowing dischargers this seventeen-year period simply to reach the relaxed

criteria of the Current Variance Standard. (Doc. 150 at 27.) Waterkeeper argues

that DEQ has included no provision in the variance criteria that requires

dischargers ever to meet Montana’s Base WQS. Id. Defendants contend that a

variance properly allows time in which a discharger can progress toward

attainment. (Doc. 152 at 47.) The designated time would allow an opportunity to

develop new technologies and assess changed conditions that may allow for a more

stringent “highest attainable condition” in the future. AR-20650-51.

        DEQ’s and EPA’s interpretation of the variance rule properly requires a

case-by-case analysis of dischargers that qualify for the variance. A facility that

discharges more than one million gpd must achieve a total nitrogen concentration

level of 6,000 µg/l to reach the Current Variance Standard. AR-20498. An

examination of the current system in practice, however, reveals a fundamental

flaw.




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        The City of Bozeman, an operator of a larger facility, discharges more than

one million gpd. AR-20427. The City of Bozeman currently discharges 4,400 µg/l

of total nitrogen daily on average.1 AR-20436. The City of Bozeman currently

discharges a total nitrogen level that attains the relaxed criteria contained in the

Current Variance Standard. DEQ may still determine, however, that the City of

Bozeman qualifies for a variance because it needs time to work toward attainment

of the stricter criteria in Montana’s Base WQS. This scenario comports with the

purpose of a variance to allow a discharger time to meet the actual standards of

Montana’s Base WQS.

        Another example reveals the flaw. The City of Whitefish also currently

discharges more than one million gallons per day. AR-20427. The City of

Whitefish discharges 24,200 µg/l of total nitrogen daily on average. AR-20434.

The City of Whitefish does not yet meet the Current Variance Standard of 6,000

µg/l. AR-20498. DEQ may determine, however, that current conditions at the City

of Whitefish do not require it to meet even the relaxed criteria of the Current

Variance Standard. See AR-20498. DEQ will analyze how far the City of

Whitefish stands from meeting the relaxed criteria of the Current Variance

Standard.

1
         The City of Bozeman’s total nitrogen level is provided by an October 21, 2016, study regarding cost
estimates for major and minor NPDES wastewater treatment plants in Montana. AR-20429. The study used the
milligram per-liter measurement of mass. The Court has converted the measurements to micrograms for purposes of
this Order. The mass in micrograms is equal to the mass in milligrams times 1,000.
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      DEQ could authorize anywhere between zero steps and the full nine steps for

the City of Whitefish to reach the relaxed criteria of the Current Variance Standard.

See AR-20498. The number of years that DEQ allows the City of Whitefish to

reach the Current Variance Standard may run anywhere between zero and the full

remaining seventeen years of the variance. The City of Whitefish still would fall

below attainment of the stricter criteria in Montana’s Base WQS at the end of the

seventeen years. This scenario conflicts with the notion that a variance should

allow a discharger sufficient time to reach the stricter criteria contained in

Montana’s Base WQS. See 80 Fed. Reg. at 51,035. The variance displaces

Montana’s Base WQS under this scenario.

      The regulations define a variance as “a time-limited designated use and

criterion for a specific pollutant(s) or water quality parameter(s) that reflect the

‘highest attainable condition’ during the term of the WQS variance.” 40 C.F.R. §

131.3(o). The regulations further provide that the variance’s term must be only “as

long as necessary to achieve the highest attainable condition.” 40 C.F.R. §

131.14(b)(1)(iv). These regulations prove contradictory.

      The regulations initially contemplate that a discharger must begin with the

highest possible condition that it can attain – the “highest attainable condition.” See

40 C.F.R. § 131.3(o), (b)(1)(ii). EPA’s “highest attainable condition”



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contemplates the starting point from which a discharger works toward attainment

of the ultimate designate use and criteria, in this case Montana’s Base WQS.

      The “highest attainable condition” regulation serves the purpose of the

CWA. This regulation allows states to establish time-limited designated uses “to

make progress toward [the underlying WQS]” See 80 Fed. Reg. at 51,037. The

“highest attainable condition” regulation provides a “mechanism to make

incremental progress toward . . . restoration and maintenance of the chemical,

physical, and biological integrity of the Nation’s waters.” Id.

      EPA’s regulations contradict themselves and purposes of the CWA by

establishing time to “achieve” merely the “highest attainable condition.” See 40

C.F.R. § 131.3(o). The State of Montana allows a discharger up twenty years to

achieve the “highest attainable condition.” See Mont. Code Ann. § 75-5-313(8).

The word “attainable” contemplates a condition that presently can be attained. To

allow dischargers up to twenty years to achieve the “highest attainable condition”

improperly inserts the word “potentially” and thereby renders meaningless the

word “attainable.” This interpretation further would establish a variance without

any “time-limited” designation. See id. This interpretation would provide the

public with no knowledge of how long a discharger may take to achieve Montana’s

Base WQS. EPA’s regulation allowing time to “achieve” a variance stretches the

definition of “highest attainable condition” to allow a twenty-year period merely to
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reach the “highest attainable condition.” This contradiction does not comport with

the purposes of the CWA.

      The variance should serve to allow a discharger to make progress toward

attaining the highest condition – Montana’s Base WQS. Nothing in EPA’s

regulations, or the terms of the variance that it approved, allows a discharger time

to meet merely the relaxed criteria of the Current Variance Standard. Further,

nothing in Montana’s variance statute – the source of the twenty-year timeline –

contemplates a timeline for the State of Montana to work toward compliance with

the relaxed Current Variance Standard.

      Defendants did not act arbitrarily and capriciously when they adopted the

Current Variance Standard. Congress contemplated that attainment of a state’s base

WQS would not always be attainable immediately. The regulations effectuate this

purpose by allowing dischargers time-limited variances to reach base criteria.

Montana’s Base WQS constitute the base criteria. Defendants acted arbitrarily and

capriciously when they set forth a seventeen-year timeline after their first triennial

review merely to meet the relaxed criteria of the Current Variance Standard. The

CWA does not contemplate the ability of a state to adopt a variance from the

variance.




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      The regulations do not prove arbitrary and capricious in their use of the

phrase “highest attainable condition” as a representation of the treatment

requirements throughout the term of the variance. See 40 C.F.R. § 131.14(b)(1)(ii).

The regulations prove arbitrary and capricious, however, when they contradict the

term “attainable” in setting forth the term of the variance as “only as long as

necessary to achieve the highest attainable condition[.]” 40 C.F.R. §

131.14(b)(1)(iv) (emphasis added).

      The seventeen-year timeline permissibly could be used to meet the criteria in

Montana’s Base WQS. Defendants must begin with a program that complies with

the relaxed criteria of the Current Variance Standard. Defendants must work

toward ultimate attainment of Montana’s Base WQS in order to demonstrate

progress toward attainment. Defendants must adopt a timeline for which attainment

of Montana’s Base WQS would be feasible. To hold otherwise would render

meaningless Montana’s Base WQS.

II.   WHETHER THE VARIANCE REPRESENTS A REPLACEMENT STANDARD

      Waterkeeper argues that the Current Variance Standard constitutes a

replacement WQS that does not protect the designated uses adopted by DEQ and

EPA under Montana’s Base WQS. Waterkeeper asserts that the Current Variance

Standard now constitutes the State of Montana’s Base WQS for the term of the


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variance. Waterkeeper contends that EPA’s approval of the Current Variance

Standard proves arbitrary and capricious as it fails to protect designated uses.

      Waterkeeper relies on Miccosukee Tribe of Indians of Florida v. United

States, 2008 WL 2967654 (S.D. Fla. July 29, 2008), to argue that EPA used the

Current Variance Standard to circumvent the requirements of Montana’s Base

WQS. The district court in Miccosukee Tribe analyzed the State of Florida’s

adoption of numeric nutrient criteria for phosphorus. Id. at *27. The State of

Florida approved a blanket variance in light of its determination that dischargers

were not yet ready to meet the criteria required to protect the designated use. The

district court determined that EPA’s approval of the blanket variance proved

arbitrary and capricious. The blanket variance “effectively suspends the

enforcement of the [numeric] phosphorus criterion and, in lieu, creates new or

revised water quality criterion[.]” Id. at *15.

      Waterkeeper argues that the district court’s reasoning in Miccosukee Tribe

compels a similar result for the Current Variance Standard. EPA’s approval of the

Current Variance Standard proves distinguishable at this time. The Current

Variance Standard does not involve a blanket variance that covers all dischargers

without requiring the discharger to request the variance. The Current Variance

Standard also subjects dischargers to a use attainability analysis to demonstrate that

a variance would be necessary to avoid substantial and widespread economic and
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social impact. The Current Variance Standard does not involve dischargers who

merely stand unwilling to meet the criteria for the designated use. See Miccosukee

Tribe, at *27.

         The Court has determined that Defendants must begin with compliance with

the Current Variance Standard and then work toward attainment of Montana’s

Base WQS. The Current Variance Standard must involve a process by which DEQ

evaluates attainability against the impact on median household income and

socioeconomic conditions within communities. The district court in Miccosukee

Tribe reasoned that the variance at issue did not contemplate progress toward

attainment. The Court too recognizes that a variance’s effect, even if not its

intended purpose, may be to avoid attainment indefinitely rather than to make

progress toward attainment.

         EPA argues that the time-limited variance requires dischargers to take

specific action to reduce pollutant discharges and make progress to achieving

compliance with the underlying numeric nutrient criteria. Waterkeeper argues that

the variance requires no such progress and merely acts as an “escape clause.” To

treat the Current Variance Standard as the baseline for the attainment of the criteria

contained in Montana’s Base WQS avoids allowing the variance to serve as an

“escape clause.” This treatment also distinguishes it, for now, from Miccosukee

Tribe.
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      Montana set itself as a national leader in the development of numeric

nutrient criteria to protect its precious water resources. The record fails to

demonstrate that the Current Variance Standard represents an attempt to make

progress toward attainment. Defendants must demonstrate progress toward

attainment of Montana’s Base WQS. Defendants must set forth a timeline that ends

with the ultimate attainment of Montana’s Base WQS rather than simply

improving water quality to the level of the relaxed criteria of the Current Variance

Standard.

      The Court declines to allow the relaxed Current Variance Standard, similar

to the variance at issue in Miccosukee Tribe, to replace the criteria of Montana’s

Base WQS. EPA’s approval of the relaxed Current Variance Standard itself does

not violate the CWA. EPA’s approval of the current seventeen-year timeline to

allow dischargers to meet the relaxed Current Variance Standards runs counter to

the CWA’s requirements and cannot stand.

                                   CONCLUSION

      Defendants have demonstrated that 33 U.S.C. § 1313(c)(2)(A) contains

ambiguity that EPA may interpret. EPA’s variance rule that allows consideration of

“widespread economic and social impacts” constitutes a permissible interpretation

of 33 U.S.C. § 1313(c)(2)(A). EPA properly interpreted its regulation that allows


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consideration of “widespread economic and social impacts” to allow the

consideration of “cost.” Defendants did not act arbitrarily and capriciously in their

interpretation of the CWA and accompanying regulations.

      Defendants’ adoption of the Current Variance Standard comports with the

evidence, and finds support in the record. Defendants’ adoption of the Current

Variance Standard was not arbitrary and capricious or an abuse of discretion. The

Current Variance Standard does not currently constitute a replacement of

Montana’s Base WQS. Defendants’ adoption of the Current Variance Standard

does not violate the CWA.

      EPA’s regulations contemplate that the “highest attainable condition” could

be attained now. EPA’s regulations contradict themselves when they allow a

discharger time to “achieve” the currently attainable condition. Defendants

adoption of a seventeen-year timeline merely to reach the “highest attainable

condition” violates the direction of the CWA. See Chevron, 467 U.S. at 842-43;

SmithKline, 567 U.S. at 154. Defendants must set forth a timeline that leads to

compliance with Montana’s Base WQS.

      The court recognizes the reality that dischargers throughout the State of

Montana currently stand at different levels of attainment. The Court also

recognizes that economic factors may constrain immediate compliance with the


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Current Variance Standard for certain dischargers. The Court deems it appropriate

under the circumstances to seek guidance from the parties as to the timing and

scope of the appropriate remedies to address the issues identified in this Order. The

Court directs counsel for all parties to confer in good faith to attempt to reach

agreement as to potential remedies that include a timeline to achieve prompt

compliance with the Current Variance Standard. If the parties cannot reach

agreement, the Court directs the parties to submit additional briefing concerning

remedies no later than sixty days from today’s date.

      This briefing shall consist of one brief for Waterkeeper not to exceed 7,500

words. DEQ shall be allowed one brief not to exceed 5,000 words. EPA shall be

allowed one brief not to exceed 5,000 words. Intervenors shall be allowed

collectively one brief not to exceed 2,500 words. The word limit shall include

everything from the caption to the certificate of service. The agreed remedies, or

the submitted briefs if the parties remain unable to agree on remedies, should

include an expedited schedule for the EPA and DEQ to attempt to remedy the

CWA deficiencies identified in this Order.




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                                      ORDER

(1)   Plaintiff’s Motion for Summary Judgment (Doc. 148) is GRANTED IN

PART and DENIED IN PART.

(2)   Defendants’ Cross-Motions for Summary Judgment (Docs. 151, 155, 159,

161, & 165) are GRANTED IN PART and DENIED IN PART.

(3)   The parties shall meet and confer in good faith to attempt to reach an

agreement as to remedies. If the parties cannot agree, the parties shall submit

additional briefing on remedies no later than sixty days from today’s date, in

accordance with the above Order.

(4)   Entry of judgment will follow the imposition of a remedy in accordance with

the above Order.

         DATED this 25th day of March, 2019.




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